   Case 4:22-cv-00317-ALM Document 5 Filed 04/20/22 Page 1 of 1 PageID #: 70



UAET (02-2008)




                 Unopposed Application for Extension of Time to Answer Complaint
                     Attach this form to the Application for Extension of Time to Answer Complaint event.



C ASE   AND      D EADLINE INFORMATIO N



Civil Action No.: 4:22-cv-00317
Name of party requesting extension: AT&T                   Inc.
Is this the first application for extension of time in this case?                             Yes
                                                                                              No
            If no, please indicate which application this represents:                         Second
                                                                                              Third
                                                                                              Other ___________
Date of Service of Summons: 3/24/2022
Number of days requested:                        30 days
                                                 15 days
                                                 Other _____ days
New Deadline Date:5/20/2022                      (Required)


A TTORNEY FILING       APPLICATION INFORMATION




            Full Name: Thomas G. Yoxall
            State Bar No.: 00785304 (TX)
            Firm Name: Locke Lord LLP
            Address: 2200 Ross Avenue, Suite 2800
                         Dallas, TX 75201


            Phone: 214-740-8000
            Fax: 214-740-8800
            Email: tyoxall@lockelord.com
                  A certificate of conference does not need to be filed with this unopposed application.
